Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 1 of 52 PageID #: 749




                           United States District Court
                                             FOR THE

                                          District of _


                                                            Case No.
  UNITED STATES OF AMERICA
                                                           (write the number of your criminal
                                                            case)

  V.
                                                            MOTION FOR SENTENCE
                                                            REDUCTION UNDER
                                                           18 U.S.C.§ 3582(c)(1)(A)
   (JUSTIN                VOLPE                            (Compassionate Release)
  Write your full name here.
                                                           (Pro Se Prisoner)


                                          NOTICE

  The public can access electronic court files. Federal Rule of Criminal Procedure 49.1
  addresses the privacy and security concerns resulting from public access to electronic court
  files. Under this rule, papers filed with the court should not contain: an individual's full social
  security number or full birth date; the full name of a person known to be a minor; or a
  complete financial account number. A filing may include only: the last four digits of a social
  security number;the year of an individual's birth; a minor's initials; and the last four digits of
  a financial account number.




 Does this motion include a request that any documents attached to this motion be filed
 under seal? (Documents filed under seal are not available to the public.)

    I ^/fves
    □ no
 If you answered yes, please list the documents in section IV of this form.




                                                                                           Page 1 of 6

                                                        DEC 2 3 2020
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 2 of 52 PageID #: 750
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 3 of 52 PageID #: 751
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 4 of 52 PageID #: 752
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 5 of 52 PageID #: 753
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 6 of 52 PageID #: 754
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 7 of 52 PageID #: 755
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 8 of 52 PageID #: 756
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 9 of 52 PageID #: 757
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 10 of 52 PageID #: 758
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 11 of 52 PageID #: 759
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 12 of 52 PageID #: 760
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 13 of 52 PageID #: 761
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 14 of 52 PageID #: 762
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 15 of 52 PageID #: 763
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 16 of 52 PageID #: 764
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 17 of 52 PageID #: 765
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 18 of 52 PageID #: 766
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 19 of 52 PageID #: 767
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 20 of 52 PageID #: 768
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 21 of 52 PageID #: 769
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 22 of 52 PageID #: 770
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 23 of 52 PageID #: 771
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 24 of 52 PageID #: 772
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 25 of 52 PageID #: 773
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 26 of 52 PageID #: 774
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 27 of 52 PageID #: 775
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 28 of 52 PageID #: 776
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 29 of 52 PageID #: 777
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 30 of 52 PageID #: 778
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 31 of 52 PageID #: 779
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 32 of 52 PageID #: 780
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 33 of 52 PageID #: 781
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 34 of 52 PageID #: 782
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 35 of 52 PageID #: 783
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 36 of 52 PageID #: 784
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 37 of 52 PageID #: 785
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 38 of 52 PageID #: 786
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 39 of 52 PageID #: 787
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 40 of 52 PageID #: 788
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 41 of 52 PageID #: 789
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 42 of 52 PageID #: 790
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 43 of 52 PageID #: 791
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 44 of 52 PageID #: 792
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 45 of 52 PageID #: 793
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 46 of 52 PageID #: 794
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 47 of 52 PageID #: 795
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 48 of 52 PageID #: 796
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 49 of 52 PageID #: 797
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 50 of 52 PageID #: 798
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 51 of 52 PageID #: 799
Case 1:98-cr-00196-FB Document 734 Filed 12/23/20 Page 52 of 52 PageID #: 800
